
BARKETT, Circuit Judge:
In 1987, Samuel Trunzo, a Lieutenant Colonel in the United States Air Force, driving a rented automobile while on temporary assignment in Miami, was involved in an auto accident. Adam Abrams sued Trunzo for personal injury caused by the accident. Because Trunzo was operating the vehicle within the scope of his government employment, the United States was substituted as defendant in the action.1 Judgment was entered against the United States in the amount of $164,549.68. The United States sought indemnification from USAA, Trunzo’s insurance carrier at the time of the accident. USAA denied the government’s claim, and this suit followed. The facts were uncontro-verted, and both sides moved for summary judgment. Defendant’s motion, based on its contention that the government had hired the rented auto and was thus excluded from coverage under the policy, was granted. The government’s motion was denied. We affirm.
The sole issue before this court is whether the United States is a “covered person” within the meaning of Trunzo’s personal insurance policy. In addition to covering Trunzo’s insured vehicle, the policy provides liability, coverage for automobiles driven by Trunzo unless the person or organization seeking coverage hired or owned the automobile involved in the accident. Specifically, the policy provides:
We will pay damages for bodily injury or property damage for which any covered person becomes legally responsible because of an auto accident ... [A covered person is] [f]or any auto or trailer, other than your covered auto, any person or organization but only with respect to legal responsibility for acts or omissions of you or any family member for whom coverage is afforded under this part. This provision applies only if the person or organization does not own or hire the auto or trailer.
In granting USAA’s summary judgment motion, the district court held that “the United States actually hired the vehicle, either directly or through the actions of its agent, Trunzo” and that the Government therefore was not a “covered person” entitled to indemnification pursuant to the terms of Trun-zo’s insurance policy. On appeal, the government contends federal law defines whether the government hires or acquires a vehicle and, by those terms, the United States did not hire the rented car and thus qualifies as a covered person under Trunzo’s insurance policy.
We must first decide whether to apply federal law or California law in interpreting the provision. While the Federal Torts Claim Act (FTCA) contains directives about which substantive law to apply in litigation under the statute (liability attaches to the United States in accordance with the law of the place where the tort occurred), it does not directly address which law to apply in claims for indemnity that derive from FTCA suits. 28 U.S.C. § 1346(b)(1994). This Circuit recently explained the doctrine under which federal law should be substituted for state law:
The Supreme Court has identified three categories of preemption: (1) “express,” where Congress “define[s] explicitly the extent to which its enactments pre-empt state law,” (2) “field,” in which Congress regulates a field so pervasively, or federal law touches on a field implicating such a dominant federal interest, that an intent for federal law to occupy the field exclusively may be inferred; (3) “conflict,” where state and federal law actually conflict, so that it is impossible for a party simultaneously to comply with both, or *1176state law “stands as an obstacle to the accomplishment and execution of the full purposes and objectives of Congress.” Preemption of any type “fundamentally is a question of congressional intent.”
Teper v. Miller, 82 F.3d 989, 993 (11th Cir.1996) (citations omitted). The government argues that federal procurement law preempts California state law in interpreting the private contract at issue because the contract provision implicates an area of unique federal interest, namely “the power to determine the conditions under which it may be held to have contracted for the purchases of goods and services.” In addition, the government suggests that applicable state and federal law conflict in ways which make it impossible to comply with both.
The government has misapprehended the federal interest in this matter. We are not asked to address contractual issues between the rental agency and the federal government; we are asked to determine the government’s right to recover as a third-party beneficiary to the insurance agreement between Tranzo and his personal insurance carrier, USAA. The “litigation before us raises no question regarding the liability of the. United States or the responsibilities of the United States” under any contract. Miree v. DeKalb County, Georgia, 433 U.S. 25, 28-29, 97 S.Ct. 2490, 2493, 53 L.Ed.2d 557 (1977). Rather, the litigation involves the liability of Trunzo’s insurance carrier for Trunzo’s accident. The true federal interest here is the recovery of the money paid to Abrams on Trunzo’s behalf. The government thus fails to demonstrate that this dispute implicates a unique federal interest or to identify federal law that is applicable to the resolution of this dispute. On the other hand, the state has a “substantial interest in having contracts construed according to established law, as the original parties would intend.” Industrial Indemnity Insurance Co. v. United States, 757 F.2d 982, 985 (9th Cir.1985).
The consideration of that substantial interest has led federal courts to apply state law in most third-party claims for indemnity or contribution derived from the FTCA. See, e.g., United States v. Government Employees Ins. Co., Inc., 612 F.2d 705, 706 (2d Cir.1980) (applying regulations of New York State Insurance Dept, in a suit by the United States for indemnity); Rudelson v. United States, 602 F.2d 1326, 1333 (9th Cir.1979)(United States is liable under California’s comparative negligence system); Certain Underwriters at Lloyd’s v. United States, 511 F.2d 159, 161 (5th Cir.1975)(law of Louisiana governs the duty of the United States to pay contribution after settlement); Ingham v. Eastern Air Lines, 373 F.2d 227, 240 (2d Cir.). cert. denied, 389 U.S. 931, 88 S.Ct. 295, 19 L.Ed.2d 292 (1967)(state law applied to claims of the United States for indemnity).
More relevant here, when the federal government has sought indemnification as a third-party beneficiary to an insurance contract, federal courts in other circuits have applied state law. See, e.g., United States v. Government Ins., Co., 461 F.2d 58 (4th Cir.1972); First Kentucky Trust Co. v. United States, 737 F.2d 557, 560 (6th Cir.1984); United States v. State Farm Mutual Automobile Ins. Co., 455 F.2d 789, 790-92 (10th Cir.1972); United States v. Nationwide Mutual Ins. Co., 499 F.2d 1355, 1356-58 (9th Cir.1974); Industrial Indemnity Co. v. United States, 757 F.2d 982, 985 (9th Cir.1985). However, in two cases, the Supreme Court applied federal law to assess third-party claims by the United States for indemnification. In United States v. Seckinger, 397 U.S. 203, 90 S.Ct. 880, 25 L.Ed.2d 224 (1970), the Court applied federal law to defeat a third-party claim for indemnity by the United States against a federal government contractor. The case involved an employee of a government contractor who, after suffering a severe electrical shock, filed a negligence suit against the United States under the FTCA. After judgment for the employee, the United States sought indemnification from the contractor based on a clause in the contract between the contractor and the government. The Court held that federal law controlled the interpretation of the contract because it “was entered into pursuant to authority conferred by federal statute and, ultimately, by the Constitution.” Id. at 209-10, 90 S.Ct. at 884.
In United States v. Gilman, 347 U.S. 507, 74 S.Ct. 695, 98 L.Ed. 898 (1954), a government employee, driving a government vehi*1177cle, was involved in a car accident. The plaintiff successfully sued the United States. The government then filed suit for indemnification against the government employee. The district court applied state law and found the employee hable for indemnity. The Supreme Court reversed, holding that because the claim was against the employee, and not against the United States, the FTCA did not cover the action. The Court discussed legislative history of the FTCA which indicated that Congress did not intend to allow the government to sue its employees for indemnity or contribution. The Court declined to apply state law favoring indemnity and denied recovery by the United States on the claim.
The instant case is easily distinguished from both Seckinger and Gilman. Unlike the former, this ease does not involve a federal government contract and its interpretation; it revolves around the meaning of a provision in a private insurance contract between Trunzo and his insurance policy with USAA. Contrary to the government’s assertions, the case does not offer the possibility of subjecting federal government authority to local control. In Gilman, a strong policy interest in preventing the government from seeking indemnity against its own employees, an interest apparent in the FTCA’s legislative history, defeated the application of state law. While this case does not implicate that policy interest, the government insists that another strong federal interest — federal control over its procurement policies and procedures — should compel the application of federal law in this dispute. As noted previously, however, we reject the government’s description of the nature of the federal interest at stake in this case and, thus, find the application of state law appropriate.
Accordingly, we turn to the question of whether, under California law, the United States “hired” the rented vehicle within the meaning of Trunzo’s insurance policy with USAA. For purposes of interpreting that California policy, the United States can be deemed to have hired the car if, according to California law, Trunzo acted as its agent, and with actual authority. USAA argues that the car rental was within the course and scope of Trunzo’s agency because “the act was done in the prosecution of the business in which the servant was employed to assist.” Kinney v. Vaccari, 27 Cal.3d 348, 165 Cal.Rptr. 787, 790, n. 2, 612 P.2d 877, 879 n. 2 (1980). We agree with USAA that, pursuant to California law, the government hired the car through Trunzo, who acted with the government’s implied, actual authority.
Pursuant to California law, “[ajctual authority is such as a principal intentionally confers upon the agent, or intentionally, or by want of ordinary care, allows the agent to believe himself to possess.” Ca. Civil Code § 2316. California courts have made clear that actual authority may be implied as well as express.1 Hobart v. Hobart Estate Co., 26 Cal.2d 412, 418, 159 P.2d 958 (Cal.1945); Transport Clearings-Bay Area v. Simmonds, 226 Cal.App.2d 405, 425, 38 Cal.Rptr. 116 (Cal.Ct.App.1964). Furthermore, “[a]n agent has authority ... [t]o do everything necessary or proper and usual, in the ordinary course of business, for effecting the purpose of his agency....” Ca. Civil Code § 2319.
On the facts of this case, it is clear that Trunzo exercised implied, actual authority, and that the government therefore hired the car through his actions. Trunzo’s sole reason for requiring the use of a rental car is a direct result of his military orders. His travel orders included specific instructions to rent a car from Holiday Payless Rent-A-Car. The car was reserved by the Scheduled Airline Traffic Office (SATO) at McClellan Air Force Base in California. Holiday Pay-less had negotiated an agreement with the United States to rent cars on special terms to Government employees on official business. The agreement with Payless provides for discounted car rental rates, establishes a toll free number for reservations, dispenses with the usual requirement of a credit card or cash security deposit, specifies that “[g]ov-ernment travelers on official business will not be subject to any fee for Collision Damage Waiver, and ... will not be subject to any collision damage responsibility,” provides for free liability insurance for the government and its employees, puts on Payless “the entire risk of direct loss of or damage to the vehicles,” and provides for payment by cash, *1178check, or credit card and “[c]entral billing to government ageneies ... if prior arrangements have been made between the agency and the rental locations.” The agreement was negotiated by the Military Traffic Management Command (MTMC) in 1986. Moreover, pursuant to the MTMC agreement with the rental car company, the Government could have arranged for direct billing for the car. Though the Government reimbursed Trunzo for the cost of the rental car and gas and no direct billing occurred here, the existence of the option further illustrates the level of control that the Government had over the transaction, and over Trunzo. Pursuant to that agreement, Trunzo indicated on the rental form that he was renting the car for official military business, relieving him of the responsibility of leaving a security deposit. California agency law mandates that Trunzo had implied, actual authority to hire the car, and that therefore the rental can be imputed to the government. Accordingly, the government is not a “covered person” within the meaning of Trunzo’s insurance policy.
AFFIRMED.

. The Drivers Act, codified at 28 U.S.C. § 2679(b), amended the Federal Torts Claim Act (FTCA), 28 U.S.C. §§ 2671-80(1994), to require substitution of the United States as a party in a civil suit against a government driver for a traffic accident occurring while the employee was operating the vehicle within the scope of employment.

